                  Case 19-11466-MFW                Doc 5002         Filed 11/22/23         Page 1 of 10




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

    In re:                                                                  Chapter 11

    CENTER CITY HEALTHCARE, LLC d/b/a
    HAHNEMANN UNIVERSITY HOSPITAL, et al.,1                                 Case No. 19-11466 (MFW)
                                Debtors.                                    (Jointly Administered)


    NOTICE OF AGENDA FOR HEARING SCHEDULED FOR NOVEMBER 28, 2023 AT
             10:30 A.M. (PREVAILING EASTERN TIME) BEFORE THE
       HONORABLE MARY F. WALRATH, U.S. BANKRUPTCY COURT JUDGE


             THIS REMOTE HEARING WILL BE CONDUCTED ENTIRELY BY ZOOM AND
                   REQUIRES ALL PARTICIPANTS TO REGISTER IN ADVANCE.
             PLEASE USE THE FOLLOWING LINK TO REGISTER FOR THIS HEARING:
                                                        TO BE SUPPLIED

     After registering your appearance by Zoom, you will receive a confirmation email containing
                                  log-in formation for the hearing.

      ALL PARTIES MUST REGISTER NO LATER THAN 8:30 A.M. (ET) ON NOVEMBER 28, 2023



RESOLVED MATTERS:

1.           Debtors’ Motion for Entry of an Order Authorizing the Debtors to File under Seal the
             Unredacted Version of the Debtors’ Thirteenth Omnibus Objection to Claims (Substantive)
             Pursuant to Sections 502(b) and 503 of the Bankruptcy Code, Bankruptcy Rules 3001,
             3003, and 3007, and Local Rule 3007-1 [Docket No. 4899; filed: 10/10/23]

             Response Deadline: October 24, 2023 at 4:00 p.m.



1
             The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
             are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
             Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
             L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
             L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
             L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
             IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is 216 North Broad
             Street, 4th Floor, Philadelphia, Pennsylvania 19102.


51061620.1 11/22/2023
                Case 19-11466-MFW         Doc 5002     Filed 11/22/23     Page 2 of 10




         Responses Received: None

         Related Documents:

         A.        Certification of No Objection [Docket No. 4931; filed: 10/25/23]

         B.        Order Authorizing the Debtors to File Under Seal the Unredacted Version of the
                   Debtors’ Thirteenth Omnibus Objection to Claims (Substantive) Pursuant to
                   Sections 502(b) and 503 of the Bankruptcy Code, Bankruptcy Rules 3001, 3003,
                   and 3007, and Local Rule 3007-1 [Docket No. 4932; filed: 10/27/23]

         Status: On October 27, 2023, the Court entered an order approving this motion.

2.       Debtors’ Twelfth Omnibus Objection to Claims (Non-Substantive) Pursuant to Sections
         502(b) and 503 of the Bankruptcy Code, Bankruptcy Rules 3001, 3003, and 3007, and
         Local Rule 3007-1 [Docket No. 4890; filed: 09/29/23]

         Response Deadline: October 13, 2023 at 4:00 p.m.

         Responses Received:

         A.        Reply of Frank T. Brzozowski [Docket No. 4912; filed: 10/13/23]

         Related Documents:

         B.        Declaration of Allen Wilen in Support of Debtors’ Twelfth Omnibus Objection to
                   Claims (Non-Substantive) Pursuant to Sections 502(b) and 503 of the Bankruptcy
                   Code, Bankruptcy Rules 3001, 3003, and 3007, and Local Rule 3007-1 [Docket
                   No. 4890-3; filed: 09/29/23]

         C.        Certification of Counsel Regarding Proposed Order Sustaining Debtors’ Twelfth
                   Omnibus Objection to Claims (Non-Substantive) Pursuant to Sections 502(b) and
                   503 of the Bankruptcy Code, Bankruptcy Rules 3001, 3003, and 3007, and Local
                   Rule 3007-1 [Docket No. 4916; filed: 10/17/23]

         D.        Notice of Submission of Proofs of Claim [Docket No. 4929; filed: 10/23/23]

         E.        Order Sustaining Debtors’ Twelfth Omnibus Objection to Claims (Non-
                   Substantive) Pursuant to Sections 502(b) of the Bankruptcy Code, Bankruptcy
                   Rules 3001, 3003, and 3007, and Local Rule 3007-1 [Docket No. 4976; signed and
                   docketed: 11/09/23]

         Status: On November 9, 2023, the Court entered an order sustaining this claim objection.

3.       (FILED UNDER SEAL) Debtors’ Thirteenth Omnibus Objection to Claims (Substantive)
         Pursuant to Sections 502(b) and 503 of the Bankruptcy Code, Bankruptcy Rules 3001,
         3003, and 3007, and Local Rule 3007-1 [Docket No. 4898; filed: 10/10/23]

         Response Deadline: October 24, 2023 at 4:00 p.m.

                                                   2
51061620.1 11/22/2023
                Case 19-11466-MFW         Doc 5002     Filed 11/22/23     Page 3 of 10




         Responses Received: None

         Related Documents:

         A.        (REDACTED) Debtors’ Thirteenth Omnibus Objection to Claims (Substantive)
                   Pursuant to Sections 502(b) and 503 of the Bankruptcy Code, Bankruptcy Rules
                   3001, 3003, and 3007, and Local Rule 3007-1 [Docket No. 4900; filed: 10/10/23]

         B.        Declaration of Allen Wilen in Support of Debtors’ Thirteenth Omnibus Objection
                   to Claims (Substantive) Pursuant to Sections 502(b) and 503 of the Bankruptcy
                   Code, Bankruptcy Rules 3001, 3003, and 3007, and Local Rule 3007-1 [Docket
                   No. 4898-3; filed: 10/10/23]

         C.        (FILED UNDER SEAL) Certification of No Objection [Docket No. 4933; filed:
                   10/27/23]

         D.        (REDACTED) Certification of No Objection [Docket No. 4934; filed: 10/27/23]

         E.        Notice of Submission of Proofs of Claim [Docket No. 4938; filed: 10/30/23]

         F.        (REDACTED) Order Sustaining Debtors’ Thirteenth Omnibus Objection to
                   Claims (Substantive) Pursuant to Sections 502(b) and 503 of the Bankruptcy Code,
                   Bankruptcy Rules 3001, 3003, and 3007, and Local Rule 3007-1 [Docket No. 4977;
                   signed and docketed: 11/09/23]

         G.        (FILED UNDER SEAL) Order Sustaining Debtors’ Thirteenth Omnibus
                   Objection to Claims (Substantive) Pursuant to Sections 502(b) and 503 of the
                   Bankruptcy Code, Bankruptcy Rules 3001, 3003, and 3007, and Local Rule 3007-
                   1 [Docket No. 4978; signed and docketed: 11/09/23]

         Status: On November 9, 2023, the Court entered an order sustaining this claim objection.

FEE APPLICATIONS:

4.       Certification of Counsel Regarding Proposed Omnibus Order Approving the Thirteenth
         and Fourteenth Interim Fee Applications of Saul Ewing LLP, Sills Cummis & Gross, P.C.
         and Fox Rothschild LLP, and the Ninth Interim Fee Application of Berkeley Research
         Group, LLC [Docket No. 5001; filed: 11/17/23]

         Response Deadline:      See index of the fee applications attached as Exhibit A.

         Responses Received: None

         Related Documents: None

         Status: The hearing on the interim fee applications is going forward.




                                                   3
51061620.1 11/22/2023
                Case 19-11466-MFW    Doc 5002    Filed 11/22/23    Page 4 of 10




Dated: November 22, 2023                  SAUL EWING LLP

                                    By:   /s/ Monique B. DiSabatino
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                                          Monique B. DiSabatino (DE Bar No. 6027)
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                                          Counsel for Debtors and Debtors in Possession




                                             4
51061620.1 11/22/2023
                Case 19-11466-MFW         Doc 5002      Filed 11/22/23     Page 5 of 10




                               DEBTORS’ PROFESSIONALS
I.       SAUL EWING LLP (Counsel to Debtors)

         1.        Thirteenth Interim Fee Application of Saul Ewing LLP, Counsel to the Debtors, for
                   Allowance of Compensation and Reimbursement of Expenses for the Period from
                   July 1, 2022 through September 30, 2022 [Docket No. 4901; filed: 10/11/23]

                   i.     Certification of No Objection for Thirteenth Interim Fee Application of Saul
                          Ewing LLP [Docket No. 4941; filed: 11/01/23]

                   Related Documents:

                   A.     Thirty-Seventh Monthly Fee Application of Saul Ewing Arnstein & Lehr
                          LLP, Counsel to the Debtors, for Allowance of Compensation and
                          Reimbursement of Expenses for the Period from July 1, 2022 through July
                          31, 2022 [Docket No. 4258; filed: 09/13/22]

                          i.     Certification of No Objection for Thirty-Seventh Monthly
                                 Application of Saul Ewing Arnstein & Lehr LLP [Docket No. 4318;
                                 filed: 10/04/22]

                   B.     Thirty-Eighth Monthly Fee Application of Saul Ewing Arnstein & Lehr
                          LLP, Counsel to the Debtors, for Allowance of Compensation and
                          Reimbursement of Expenses for the Period from August 1, 2022 through
                          August 31, 2022 [Docket No. 4327; filed: 10/10/22]

                          i.     Certification of No Objection for Thirty-Eighth Monthly
                                 Application of Saul Ewing Arnstein & Lehr LLP [Docket No. 4378;
                                 filed: 11/01/22]

                   C.     Thirty-Ninth Monthly Fee Application of Saul Ewing Arnstein & Lehr LLP,
                          Counsel to the Debtors, for Allowance of Compensation and
                          Reimbursement of Expenses for the Period from September 1, 2022 through
                          September 30, 2022 [Docket No. 4382; filed: 11/08/22]

                          i.     Certification of No Objection for Thirty-Ninth Monthly Application
                                 of Saul Ewing Arnstein & Lehr LLP [Docket No. 4398; filed:
                                 11/29/22]

         2.        Fourteenth Interim Fee Application of Saul Ewing LLP, Counsel to the Debtors,
                   for Allowance of Compensation and Reimbursement of Expenses for the Period
                   from October 1, 2022 through December 31, 2022 [Docket No. 4902; filed:
                   10/11/23]

                   i.     Certification of No Objection for Fourteenth Interim Fee Application of
                          Saul Ewing LLP [Docket No. 4942; filed: 11/01/23]



51061620.1 11/22/2023
                Case 19-11466-MFW         Doc 5002      Filed 11/22/23    Page 6 of 10




                   Related Documents:

                   A.     Fortieth Monthly Fee Application of Saul Ewing LLP, Counsel to the
                          Debtors, for Allowance of Compensation and Reimbursement of Expenses
                          for the Period from October 1, 2022 through October 31, 2022 [Docket No.
                          4439; filed: 12/22/22]

                          i.     Certification of No Objection for Fortieth Monthly Application of
                                 Saul Ewing LLP [Docket No. 4459; filed: 01/12/23]

                   B.     Forty-First Monthly Fee Application of Saul Ewing LLP, Counsel to the
                          Debtors, for Allowance of Compensation and Reimbursement of Expenses
                          for the Period from November 1, 2022 through November 30, 2022 [Docket
                          No. 4466; filed: 01/19/23]

                          i.     Certification of No Objection for Forty-First Monthly Application
                                 of Saul Ewing LLP [Docket No. 4513; filed: 02/09/23]

                   C.     Forty-Second Monthly Fee Application of Saul Ewing LLP, Counsel to the
                          Debtors, for Allowance of Compensation and Reimbursement of Expenses
                          for the Period from December 1, 2022 through December 31, 2022 [Docket
                          No. 4540; filed: 03/02/23]

                          i.     Certification of No Objection for Forty-Second Monthly
                                 Application of Saul Ewing LLP [Docket No. 4576; filed: 03/23/23]


                         COMMITTEE’S PROFESSIONALS
II.      SILLS CUMMIS & GROSS P.C. (Counsel to the Official Committee of Unsecured
         Creditors)

         3.        Thirteenth Quarterly Application of Sills Cummis & Gross P.C. for Allowance of
                   Compensation for Services Rendered and for Reimbursement of Expenses as
                   Counsel to the Official Committee of Unsecured Creditors, for the Period from July
                   1, 2022 through September 30, 2022 [Docket No. 4921; filed: 10/18/23]

                   i.     Certification of No Objection for Thirteenth Quarterly Fee Application of
                          Sills Cummis & Gross P.C. [Docket No. 4973; filed: 11/07/23]

                   Related Documents:

                   A.     Thirty Seventh Monthly Application of Sills Cummis & Gross P.C. for
                          Allowance of Compensation for Services Rendered and for Reimbursement
                          of Expenses as Counsel to the Official Committee of Unsecured Creditors
                          for the Period from July 1, 2022 through July 31, 2022 [Docket No. 4341;
                          filed: 10/17/22]


                                                   2
51061620.1 11/22/2023
                Case 19-11466-MFW         Doc 5002     Filed 11/22/23    Page 7 of 10




                          i.     Certification of No Objection for Thirty Seventh Monthly
                                 Application of Sills Cummis & Gross P.C. [Docket No. 4389; filed:
                                 11/15/22]

                   B.     Thirty Eighth Monthly Application of Sills Cummis & Gross P.C. for
                          Allowance of Compensation for Services Rendered and for Reimbursement
                          of Expenses as Counsel to the Official Committee of Unsecured Creditors
                          for the Period from August 1, 2022 through August 31, 2022 [Docket No.
                          4342; filed: 10/17//22]

                          i.     Certification of No Objection for Thirty Eighth Monthly
                                 Application of Sills Cummis & Gross P.C. [Docket No. 4390; filed:
                                 11/15/22]

                   C.     Thirty Ninth Monthly Application of Sills Cummis & Gross P.C. for
                          Allowance of Compensation for Services Rendered and for Reimbursement
                          of Expenses as Counsel to the Official Committee of Unsecured Creditors
                          for the Period from September 1, 2022 through September 30, 2022 [Docket
                          No. 4388; filed: 11/14/22]

                          i.     Certification of No Objection for Thirty Ninth Monthly Application
                                 of Sills Cummis & Gross P.C. [Docket No. 4401; filed: 12/06/22]

         4.        Fourteenth Quarterly Application of Sills Cummis & Gross P.C. for Allowance of
                   Compensation for Services Rendered and for Reimbursement of Expenses as
                   Counsel to the Official Committee of Unsecured Creditors, for the Period from
                   October 1, 2022 through December 31, 2022 [Docket No. 4922; filed: 10/18/23]

                   i.     Certification of No Objection for Fourteenth Quarterly Fee Application of
                          Sills Cummis & Gross P.C. [Docket No. 4974; filed: 11/07/23]

                   Related Documents:

                   A.     Fortieth Monthly Application of Sills Cummis & Gross P.C. for Allowance
                          of Compensation for Services Rendered and for Reimbursement of
                          Expenses as Counsel to the Official Committee of Unsecured Creditors for
                          the Period from October 1, 2022 through October 31, 2022 [Docket No.
                          4402; filed: 12/07/22]

                          i.     Certification of No Objection for Fortieth Monthly Application of
                                 Sills Cummis & Gross P.C. [Docket No. 4443; filed: 12/29/22]

                   B.     Forty-First Monthly Application of Sills Cummis & Gross P.C. for
                          Allowance of Compensation for Services Rendered and for Reimbursement
                          of Expenses as Counsel to the Official Committee of Unsecured Creditors
                          for the Period from November 1, 2022 through November 30, 2022 [Docket
                          No. 4492; filed: 02/02/23]


                                                  3
51061620.1 11/22/2023
                Case 19-11466-MFW         Doc 5002     Filed 11/22/23     Page 8 of 10




                          i.     Certification of No Objection for Forty-First Monthly Application
                                 of Sills Cummis & Gross P.C. [Docket No. 4535; filed: 02/27/23]

                   C.     Forty-Second Monthly Application of Sills Cummis & Gross P.C. for
                          Allowance of Compensation for Services Rendered and for Reimbursement
                          of Expenses as Counsel to the Official Committee of Unsecured Creditors
                          for the Period from December 1, 2022 through December 31, 2022 [Docket
                          No. 4493; filed: 02/02/23]

                          i.     Certification of No Objection for Forty-Second Monthly
                                 Application of Sills Cummis & Gross P.C. [Docket No. 4536; filed:
                                 02/27/23]

III.     FOX ROTHSCHILD LLP (Delaware Counsel to the Official Committee of
         Unsecured Creditors)

         5.        Thirteenth Interim Application of Fox Rothschild LLP for Compensation for
                   Services Rendered and Reimbursement of Expenses as Counsel to the Official
                   Committee of Unsecured Creditors for the Period July 1, 2022 through September
                   30, 2022 [Docket No. 4919; filed: 10/18/23]

                   i.     Certification of No Objection for Thirteenth Interim Fee Application of Fox
                          Rothschild LLP [Docket No. 4947; filed: 11/03/23]

                   Related Documents:

                   A.     Thirty Fifth Monthly Fee Application of Fox Rothschild LLP for Services
                          Rendered and Reimbursement of Expenses as Counsel to the Official
                          Committee of Unsecured Creditors for the Period July 1, 2022 through July
                          31, 2022 [Docket No. 4266; filed: 09/14/22]

                          i.     Certification of No Objection for Thirty Fifth Monthly Application
                                 of Fox Rothschild LLP [Docket No. 4324; filed: 10/07/22]

                   B.     Thirty Sixth Monthly Fee Application of Fox Rothschild LLP for Services
                          Rendered and Reimbursement of Expenses as Counsel to the Official
                          Committee of Unsecured Creditors for the Period July August 1, 2022
                          through August 31, 2022 [Docket No. 4267; filed: 09/14/22]

                          i.     Certification of No Objection for Thirty Sixth Monthly Application
                                 of Fox Rothschild LLP [Docket No. 4325; filed: 10/07/22]

                   C.     Thirty Seventh Monthly Fee Application of Fox Rothschild LLP for
                          Services Rendered and Reimbursement of Expenses as Counsel to the
                          Official Committee of Unsecured Creditors for the Period September 1,
                          2022 through September 30, 2022 [Docket No. 4356; filed: 10/26/22]



                                                   4
51061620.1 11/22/2023
                Case 19-11466-MFW        Doc 5002     Filed 11/22/23     Page 9 of 10




                         i.     Certification of No Objection for Thirty Seventh Monthly
                                Application of Fox Rothschild LLP [Docket No. 4393; filed:
                                11/17//22]

         6.        Fourteenth Interim Application of Fox Rothschild LLP for Compensation for
                   Services Rendered and Reimbursement of Expenses as Counsel to the Official
                   Committee of Unsecured Creditors for the Period October 1, 2022 through
                   December 31, 2022 [Docket No. 4920; filed: 10/18/23]

                   i.    Certification of No Objection for Fourteenth Interim Fee Application of Fox
                         Rothschild LLP [Docket No. 4948; filed: 11/03/23]

                   Related Documents:

                   A.    Thirty Eighth Monthly Fee Application of Fox Rothschild LLP for Services
                         Rendered and Reimbursement of Expenses as Counsel to the Official
                         Committee of Unsecured Creditors for the Period October 1, 2022 through
                         October 31, 2022 [Docket No. 4417; filed: 12/08/22]

                         i.     Certification of No Objection for Thirty Eighth Monthly
                                Application of Fox Rothschild LLP [Docket No. 4460; filed:
                                01/13/23]

                   B.    Thirty Ninth Monthly Fee Application of Fox Rothschild LLP for Services
                         Rendered and Reimbursement of Expenses as Counsel to the Official
                         Committee of Unsecured Creditors for the Period November 1, 2022
                         through November 30, 2022 [Docket No. 4418; filed: 12/08/22]

                         i.     Certification of No Objection for Thirty Ninth Monthly Application
                                of Fox Rothschild LLP [Docket No. 4461; filed: 01/13/23]

                   C.    Fortieth Monthly Fee Application of Fox Rothschild LLP for Services
                         Rendered and Reimbursement of Expenses as Counsel to the Official
                         Committee of Unsecured Creditors for the Period December 1, 2022
                         through December 31, 2022 [Docket No. 4485; filed: 02/01/23]

                         i.     Certification of No Objection for Fortieth Monthly Application of
                                Fox Rothschild LLP [Docket No. 4533; filed: 02/27/23]




                                                  5
51061620.1 11/22/2023
               Case 19-11466-MFW        Doc 5002     Filed 11/22/23    Page 10 of 10




IV.      BERKELEY RESEARCH GROUP, LLC (Financial Advisor to the Official
         Committee of Unsecured Creditors)

         7.        Ninth Interim Fee Application of Berkeley Research Group, LLC for
                   Compensation for Services Rendered and Reimbursement of Expenses Incurred as
                   Financial Advisor to the Official Committee of Unsecured Creditors During the
                   Period from July 1, 2022 through December 31, 2022 [Docket No. 4928; filed:
                   10/2023]

                   i.    Certification of No Objection for Ninth Interim Application of Berkeley
                         Research Group, LLC [Docket No. 4985; filed: 11/14/23]

                   Related Documents:

                   A.    Twelfth Monthly Fee Application of Berkeley Research Group, LLC
                         Berkeley Research Group, LLC for Compensation for Services Rendered
                         and Reimbursement of Expenses Incurred as Financial Advisor to the
                         Official Committee of Unsecured Creditors During the Period from July 1,
                         2022 through December 31, 2022 [Docket No. 4771; filed: 07/14/23]

                         i.     Certification of No Objection for Twelfth Monthly Application of
                                Berkeley Research Group, LLC [Docket No. 4807; filed:
                                08/09/23]




                                                 6
51061620.1 11/22/2023
